                              Case 18-11687-reg             Doc 7       Filed 09/12/18          Page 1 of 3
                                               United States Bankruptcy Court
                                               Northern District of Indiana
In re:                                                                                                     Case No. 18-11687-reg
Craig William Bradley                                                                                      Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0755-1                  User: sduran                       Page 1 of 1                          Date Rcvd: Sep 10, 2018
                                      Form ID: 309A                      Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 12, 2018.
db             +Craig William Bradley,    1502 Avon Place,   Huntington, IN 46750-1364
tr             +Yvette Gaff Kleven,    Adelsperger & Kleven, LLP,    111 West Wayne Street,
                 Fort Wayne, In 46802-2503
smg            +Indiana Employment Security Division,    10 North Senate Street,    Indianapolis, IN 46204-2201
14464493       +Airway Oxygen Inc,    PO Box 9950,   Wyoming, MI 49509-9918
14464495       +Credit Acceptance Corp,    ATTN: Operations Support,    PO Box 513,   Southfield, MI 48037-0513
14465194        Huntington County Treasurer,    Courthouse Square,    Huntington IN 46750
14464496       +Maria Miller Bradley,    13216 Lake Everett Dr,    Fort Wayne, IN 46818-9009
14464498       +Mr. Cooper,   PO Box 619094,    Dallas, TX 75261-9094
14464500       +Wilson Real Estate & Development Co,    261 W Market St,    Huntington, IN 46750-2660

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: wellingmc@gmail.com Sep 11 2018 02:47:39      Marian C. Welling,
                 5326 Old Mill Rd.,   Fort Wayne, IN 46807
tr             +EDI: FYGKLEVEN Sep 11 2018 06:23:00      Yvette Gaff Kleven,    Adelsperger & Kleven, LLP,
                 111 West Wayne Street,   Fort Wayne, In 46802-2503
ust             E-mail/Text: ustpregion10.so.ecf@usdoj.gov Sep 11 2018 02:48:22       Nancy J. Gargula,
                 100 East Wayne Street, 5th Floor,    South Bend, IN 46601-2349
14464494       +EDI: CHASE.COM Sep 11 2018 06:24:00      Chase Card,   PO Box 15298,    Wilmington, DE 19850-5298
14465195       +E-mail/Text: DORBANKRUPTCYCOURTNOTICES@DOR.IN.GOV Sep 11 2018 02:49:17
                 Indiana Department of Revenue,    Bankruptcy Section - MS 108,    100 North Senate Avenue, N240,
                 Indianapolis IN 46204-2231
14464499       +E-mail/Text: bankruptcy@trfcu.org Sep 11 2018 02:48:49       Three Rivers Federal Credit Union,
                 PO Box 2573,   Fort Wayne, IN 46801-2573
                                                                                              TOTAL: 6

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
14464497*        +Maria Miller Bradley,   13216 Lake Everett Dr,   Fort Wayne, IN 46818-9009
14464501*        +Wilson Real Estate & Development Co,   261 W Market St,   Huntington, IN 46750-2660
                                                                                              TOTALS: 0, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 12, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 10, 2018 at the address(es) listed below:
              Marian C. Welling   on behalf of Debtor 1 Craig William Bradley wellingmc@gmail.com
              Nancy J. Gargula   USTPRegion10.SO.ECF@usdoj.gov
              Yvette Gaff Kleven   ygk@adelspergerkleven.com, IN41@ecfcbis.com;ygk@trustesolutions.net
                                                                                            TOTAL: 3
                             Case 18-11687-reg                     Doc 7   Filed 09/12/18          Page 2 of 3
Information to identify the case:
Debtor 1              Craig William Bradley                                             Social Security number or ITIN        xxx−xx−9826
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Indiana
                                                                                        Date case filed for chapter 7 9/7/18
Case number:          18−11687−reg


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Craig William Bradley

2.      All other names used in the
        last 8 years

3.     Address                               1502 Avon Place
                                             Huntington, IN 46750

4.     Debtor's attorney                     Marian C. Welling                                      Contact phone 260−450−5372
                                             5326 Old Mill Rd.
       Name and address                      Fort Wayne, IN 46807                                   Email: wellingmc@gmail.com

5.     Bankruptcy trustee                    Yvette Gaff Kleven                                     Contact phone (260)407−7077
                                             Adelsperger & Kleven, LLP
       Name and address                      111 West Wayne Street                                  Email: ygk@adelspergerkleven.com
                                             Fort Wayne, In 46802
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
                             Case 18-11687-reg                    Doc 7         Filed 09/12/18                Page 3 of 3
Debtor Craig William Bradley                                                                                            Case number 18−11687−reg


6. Bankruptcy clerk's office                      1300 S. Harrison St.                                          Hours open:
                                                  Fort Wayne, IN 46802                                          9:00 a.m. − 4:00 p.m. Monday −
    Documents in this case may be filed at this                                                                 Friday
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                              Contact phone 260−420−5100

                                                                                                                Date: 9/10/18

7. Meeting of creditors                           October 11, 2018 at 10:30 AM                                  Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a                Room 1194, 1300 South Harrison
    questioned under oath. In a joint case,       later date. If so, the date will be on the court              Street, Fort Wayne, IN 46802
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                   Filing deadline: 12/10/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                             Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as           conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                              page 2
